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                                                                            FILED
                           NOT FOR PUBLICATION
                                                                             JAN 11 2019
                    UNITED STATES COURT OF APPEALS                       MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS


                            FOR THE NINTH CIRCUIT


BRADLEY STEPHEN COHEN; COHEN                     No.   16-15943
ASSET MANAGEMENT, INC., a
California Corporation,                          DC No. CV 12-1401 JCM

              Plaintiffs-Appellees,

 v.                                              MEMORANDUM*

ROSS B. HANSEN; STEVEN EARL
FIREBAUGH,

              Defendants-Appellants.


                    Appeal from the United States District Court
                             for the District of Nevada
                     James C. Mahan, District Judge, Presiding

                    Argued and Submitted September 13, 2018
                            San Francisco, California

Before:      TASHIMA, RAWLINSON, and WATFORD, Circuit Judges.

       Defendant-Appellant Ross Hansen was found liable for defamation per se

and false light invasion of privacy after he created a website comparing Bradley

Cohen and Cohen Asset Management (“CAM”) to Bernie Madoff and his Ponzi


       *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
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scheme. Cohen and CAM sought only presumed damages at trial, and a jury

awarded a multimillion-dollar judgment. Hansen appeals from the judgment and

the district court’s denial of his motion for a new trial. He argues that certain

evidence introduced at trial violated a magistrate judge’s order precluding evidence

of “quantifiable economic harm.”1 He also argues that Nevada law does not allow

“loss of business” to serve as a basis for presumed damages. We affirm.2

      1.     “[A]n award of presumed general damages must still be supported by

competent evidence but not necessarily of the kind that assigns an actual dollar

value to the injury.” Bongiovi v. Sullivan, 138 P.3d 433, 448 (Nev. 2006) (internal

quotation marks and citations omitted). Furthermore, the magistrate judge’s order

only prohibited the introduction of evidence of quantifiable economic harm; it did

not prohibit evidence of any economic harm whatsoever.

      At the beginning of the trial, the district court instructed Hansen’s trial

counsel to object if evidence that violated the order was introduced so that the

court could rule on its admissibility at that time. Hansen’s counsel agreed to do so,

      1
              The order was issued as a discovery sanction and affirmed by the
district judge.
      2
             After this appeal was filed, Firebaugh filed a voluntary petition for
bankruptcy under Chapter 13, in the United States Bankruptcy Court for the
District of Nevada, No. 16-51352. Therefore, pursuant to the automatic stay, 11
U.S.C. § 362(a), this disposition does not address or decide the appeal as to
Defendant-Appellant Firebaugh.
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but never objected on the ground that the preclusion order had been violated.

Cohen testified that: (1) CAM lost “a $21 million dollar deal,” allegedly because

of the website; (2) his insurance provider did not want to renew his policy because

of the website, but Cohen did not mention a specific dollar figure and the provider

eventually did insure him; (3) one client was investing approximately $130 million

with CAM at the time the website was online; and (4) he was so intent on making

the website less prominent in internet search results that he spent $100,000 to

$200,000 on search engine optimization. Cohen and CAM’s evidence of economic

harm was the type of competent evidence that served as a basis for Cohen and

CAM’s presumed general damages. The district court did not err by allowing its

admission.

      2.     Under Nevada law, evidence of “loss of business” can serve as the

basis for presumed damages in defamation per se cases. “General damages are

presumed upon proof of the defamation alone . . . ‘because of the impossibility of

affixing an exact monetary amount for present and future injury to the plaintiff’s

reputation, wounded feelings and humiliation, loss of business, and any

consequential physical illness or pain.’ ” Bongiovi, 138 P.3d at 448 (emphasis

added) (quoting K-Mart Corp. v. Washington, 866 P.2d 274, 284 (Nev. 1993)). The

district court instructed the jury that loss of business could serve as the basis for


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presumed damages. Hansen did not object to the jury instructions or

accompanying special interrogatories; in fact, he stipulated to proposed jury

instructions that included “loss of business” as a basis for presumed damages. The

language of the jury instructions was correct under Nevada law, and thus did not

mislead or confuse the jury. The district court did not plainly err by including such

language in the unobjected-to jury instructions or the special interrogatories.

                                     •   !     •

      The judgment of the district court is AFFIRMED.




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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

            Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.      Purpose (Panel Rehearing):
        •       A party should seek panel rehearing only if one or more of the following
                grounds exist:
                ►    A material point of fact or law was overlooked in the decision;
                ►    A change in the law occurred after the case was submitted which
                      appears to have been overlooked by the panel; or
                ►    An apparent conflict with another decision of the Court was not
                      addressed in the opinion.
        •       Do not file a petition for panel rehearing merely to reargue the case.

        B.      Purpose (Rehearing En Banc)
        •       A party should seek en banc rehearing only if one or more of the following
                grounds exist:



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                ►        Consideration by the full Court is necessary to secure or maintain
                         uniformity of the Court’s decisions; or
                ►        The proceeding involves a question of exceptional importance; or
                ►        The opinion directly conflicts with an existing opinion by another
                         court of appeals or the Supreme Court and substantially affects a
                         rule of national application in which there is an overriding need for
                         national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •       The petition or answer must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
              Forms.
      •       You may file a petition electronically via the appellate ECF system. No paper copies are
              required unless the Court orders otherwise. If you are a pro se litigant or an attorney
              exempted from using the appellate ECF system, file one original petition on paper. No
              additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send a letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan, MN 55123
                  (Attn: Jean Green, Senior Publications Coordinator);
            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




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                         UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT
                                 Form 10. Bill of Costs
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

9th Cir. Case Number(s)

Case Name
The Clerk is requested to award costs to (party name(s)):



I swear under penalty of perjury that the copies for which costs are requested were
actually and necessarily produced, and that the requested costs were actually
expended.
Signature                                                                 Date
(use “s/[typed name]” to sign electronically-filed documents)

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Reply Brief / Cross-Appeal Reply Brief                                            $                 $


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No. of Copies: 4; Pages per Copy: 500; Cost per Page: $.10 (or actual cost IF less than $.10);
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Form 10                                                                                           Rev. 12/01/2018
